        Case 1:19-cr-10080-NMG Document 2009 Filed 07/30/21 Page 1 of 6




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

 UNITED STATES OF AMERICA                       )
                                                )
                v.                              )   Criminal No.: 19-10080-NMG
                                                )
 ELISABETH KIMMEL et al.,                       )
                                                )
                                                )
                        Defendants              )


               GOVERNMENT’S MOTION IN LIMINE TO PRECLUDE
           EVIDENCE AND ARGUMENT SEEKING JURY NULLIFICATION

       The government respectfully moves to preclude the defendants from offering evidence and

arguments concerning, inter alia, the defendants’ (or their family members’) medical conditions

and family circumstances, the arrests in this case, and the potential consequences of conviction.

The defendants should likewise be precluded from arguing that they have been selectively

prosecuted, or that the scheme alleged in this case does not merit federal prosecution because lying

on college applications is routine, or because the theory of prosecution is “novel.” Such evidence

and argument have no relevance to the charged offenses and would be highly prejudicial. It would

invite the jury to ignore the Court’s instructions on the law and to decide this case instead based

on a general sense of fairness, justice, or policy, and thereby constitute an improper attempt at

encouraging nullification.

I.     APPLICABLE LAW

       “While a defendant has a ‘wide-ranging’ right to present a defense, that right is not absolute

and does not include the right to present irrelevant evidence.” United States v. Gottesfeld, 319 F.

Supp. 3d 548, 553 (D. Mass. 2018) (Gorton, J.) (quoting United States v. Maxwell, 254 F.3d 21,

26 (1st Cir. 2001)). Evidence is relevant only “if it has any tendency to make a fact more or less

probable than it would be without the evidence” and “the fact is of consequence in determining
        Case 1:19-cr-10080-NMG Document 2009 Filed 07/30/21 Page 2 of 6




the action.” Fed. R. Evid. 401. Irrelevant evidence is not admissible. Fed. R. Evid. 402. Any

relevant evidence at trial must, therefore, relate to the elements of the crime charged or applicable

defenses. See United States v. Smith, 940 F.2d 710, 713 (1st Cir. 1998).

       The First Circuit’s distaste for irrelevant and unfairly prejudicial evidence and argument

encouraging jurors to nullify is well-established. See, e.g., United States v. Sepulveda, 15 F.3d

1161, 1190 (1st Cir. 1993). “Neither the court nor counsel should encourage jurors to exercise

their power to nullify.” United States v. Bunchan, 626 F.3d 29, 34 (1st Cir. 2010). “A trial judge,

therefore, may block defense attorneys’ attempts to serenade a jury with the siren song of

nullification.” Sepulveda, 15 F.3d at 1190. For the same reason that courts may not instruct juries

as to their power to nullify, “[a]n attorney’s attempt to achieve the same end indirectly,” through

irrelevant evidence and argument, is improper. United States v. Manning, 79 F.3d 212, 219 (1st

Cir. 1996). In short, “[n]ullification has no basis in law, [and . . .] it would undermine not only the

rule of law, but also the values at the core of our democracy.” United States v. Luisi, 568 F. Supp.

2d 106, 120 (D. Mass. 2008).

       Evidence and argument regarding a defendant’s health or medical history (or their family

members’ health and medical circumstances) has no relevance to any fact bearing on the elements

of the crimes charged. See Smith, 940 F.2d at 713; see also United States v. Mejia, 2016 WL

6662265, at *2 (S.D.N.Y. Nov. 10, 2016) (granting government’s motion in limine because the

“Defendant’s and his family’s health . . . are irrelevant to the merits of the case”); United States v.

Ahaiwe, 2021 WL 2134922, at *2 (S.D.N.Y. May 26, 2021) (granting government’s motion in

limine to exclude evidence and argument regarding the defendant’s health). Such evidence is

highly prejudicial under Rule 403, could serve to elicit an impermissible response from the jury

based on emotion or sympathy, and would constitute an improper invitation to nullification. See




                                                  2
        Case 1:19-cr-10080-NMG Document 2009 Filed 07/30/21 Page 3 of 6




United States v. Mehanna, 735 F.3d 32, 59 (1st Cir. 2013) (quoting Old Chief v. United States, 519

U.S. 172, 180 (1997)) (“‘[U]nfair prejudice’ denotes ‘an undue tendency to suggest decision on an

improper basis, commonly, though not necessarily, an emotional one.’”); see also United States v.

Rivas-Estrada, 761 F. App’x 318, 327 (5th Cir. 2019) (affirming exclusion of evidence that

defendant suffered from cancer during period of conspiracy because any probative value was

outweighed by unfair prejudice and tendency to invite a verdict based on “jurors’ sympathy”).

       Similarly, evidence regarding the circumstances of a defendant’s arrest – unless it bears on

facts related to elements of the crimes charged or evidence collected – is irrelevant, unfairly

prejudicial, and improperly invites jury nullification. See, e.g., United States v. Laster, 313 F.

App’x 369, 372 (2d Cir. 2009) (affirming exclusion of evidence regarding injury suffered by

defendant during execution of arrest as “irrelevant”); see also United States v. Thompson, 393 F.

App’x 852, 856 (3d Cir. 2010) (same, where defendant “has not shown how evidence of the

amount of force used to apprehend him and place him in custody is relevant to the question of

whether he was guilty of the charges”).

       Further, it is well-established that arguments raising potential sentences and collateral

consequences stemming from a conviction (e.g., regulatory and licensing consequences) are

irrelevant and improper. See, e.g., United States v. Manning, 79 F.3d 212, 219 (1st Cir. 1996)

(holding it is “impermissible” to “argu[e] the severity of the punishment to the jury”); see also

United States v. Gorski, No. 12-10338-FDS, 2016 WL 2993612, at *1 (D. Mass. May 23, 2016)

(granting government’s motion in limine to exclude jury nullification evidence and argument,

including “evidence of defendant’s potential sentence”).

       Finally, evidence and argument directed toward nullification based on claims of selective

prosecution are also impermissible. See, e.g., United States v. Valerio, 676 F.3d 237, 242 (1st Cir.




                                                 3
        Case 1:19-cr-10080-NMG Document 2009 Filed 07/30/21 Page 4 of 6




2012) (affirming district court’s denial of motion to dismiss based on “selective prosecution”

where counsel “was reprimanded for it by the judge on many occasions”); United States v.

O’Brien, 18 F. Supp. 3d 25, 36 (D. Mass. 2014) (Saylor, J.) (claims of “selective prosecution” are

“improper”). Likewise, courts have long held that evidence that a practice is customary or

widespread does not excuse criminal conduct. See United States v. Oldbear, 568 F.3d 814, 821

(10th Cir. 2009) (holding that “only [the defendant’s] actions and state of mind were material to

her guilt” and the mere fact “that others may have been the beneficiaries of improper conduct does

nothing to excuse [the defendant],” and also concluding that such evidence was properly

excludable under Rule 403 because it was likely to create a “sideshow from which the jury could

have gleaned little valuable information”); United States v. Pitt-Des Moines, Inc., 168 F.3d 976,

991 (7th Cir. 1999) (concluding district court correctly excluded evidence of industry custom and

practice “based on a fear that the jury might find [the defendant] not guilty because ‘everyone does

it’”); Newton v. Merrill, Lynch, Pierce, Fenner & Smith, Inc., 135 F.3d 266, 274 (3d Cir. 1998)

(en banc) (“Even a universal industry practice may still be fraudulent.”).

II.    ARGUMENT

       At times during this prosecution, the defendants have signaled that they may raise

arguments or introduce evidence sounding in nullification. For example, defendant Kimmel has

argued, at length, that her medical condition justifies dismissal of the charges against her, see Dkt.

1878 at 1–30, 1913 at 1–5, and has asserted that the FBI used “paramilitary tactics” and a “military-

style assault” to arrest her. Id.; but see Dkt. 1927 at 9 (denying motion to dismiss and finding

Kimmel’s assertions “hyperbolic”).        Kimmel has also maintained (incorrectly) that “the

government agrees” that “she does not merit a prison sentence.” Dkt. 1913 at 5.




                                                  4
        Case 1:19-cr-10080-NMG Document 2009 Filed 07/30/21 Page 5 of 6




       None of this evidence or argument is relevant to whether the defendants conspired to use

fraud and honest services fraud to secure their children’s admission to college as purported athletic

recruits. See Smith, 940 F.2d at 713 (explaining that relevant evidence must relate to the elements

of the crime charged or applicable defenses). All of it invites jury nullification and poses a risk of

unfair prejudice. See Manning, 79 F.3d at 219 (finding improper a defendant’s attempt to offer

irrelevant evidence to engender sympathy and achieve nullification, even “indirectly”). Further,

the medical conditions of the defendants and their other family members – with the possible

exception of the diagnosed learning differences of the children whose college admission and

standardized tests are at issue here – are “irrelevant to the merits of the case.” Mejia, 2016 WL

6662265, at *2. The nature and circumstances of the defendants’ arrests are likewise irrelevant.

Laster, 313 F. App’x at 372. And it is well-established that any mention of the potential

consequences of conviction, including prison sentences or loss of licenses, is improper. See, e.g.,

Gorski, 2016 WL 2993612, at *1.

       In addition, although the defendants have not raised a formal selective prosecution defense

pre-trial, see United States v. Serafino, 281 F.3d 327, 331 (1st Cir. 2002), they have marked as

potential exhibits voluminous documents concerning other parents, and they have repeatedly

decried what they describe as the government’s “novel” prosecution theory in this case, which they

have contended would criminalize an “exaggeration or fib” in a preschool application. Dkt. 1042

at 23. But as the government has argued in a separate motion in limine, evidence about the actions

of other parents in using improper means to secure the admission of their children to college –

absent evidence that the defendants knew about this and that it is relevant to their intent – has no

probative value. Arguments about what other parents may have done would simply constitute an

improper, back-door argument for nullification. See, e.g., Valerio, 676 F.3d at 242. Similarly,




                                                  5
        Case 1:19-cr-10080-NMG Document 2009 Filed 07/30/21 Page 6 of 6




arguments that the government’s theory of prosecution is novel, or that the defendants’ conduct

does not rise to the level of a federal criminal case because, for example, many people lie or

exaggerate on college applications would be improper. See, e.g., United States v. Fowler, 932

F.2d 306, 315-16 (4th Cir. 1991) (affirming district court’s exclusion of testimony supporting “the

everybody-does-it defense” as irrelevant).

III.   CONCLUSION

       For the foregoing reasons, the Court should preclude the defendants from introducing

evidence or asserting arguments that would tend to encourage jury nullification.

                                                     Respectfully submitted,

                                                     NATHANIEL R. MENDELL
                                                     Acting United States Attorney


                                                 By: /s/ Ian J. Stearns
                                                    JUSTIN D. O’CONNELL
                                                    KRISTEN A. KEARNEY
                                                    LESLIE A. WRIGHT
                                                    STEPHEN E. FRANK
                                                    IAN J. STEARNS
                                                    Assistant United States Attorneys


                                CERTIFICATE OF SERVICE

I hereby certify that this document filed through the ECF system will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing (NEF) and paper copies will
be sent to those indicated as non-registered participants .

                                                     /s/ Ian J. Stearns
                                                     IAN J. STEARNS
                                                     Assistant United States Attorney




                                                 6
